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              15                         UNITED STATES DISTRICT COURT
              16                       SOUTHERN DISTRICT OF CALIFORNIA
              17
              18       SAN DIEGO UNIFIED PORT                  CASE NO. 3:15-cv-00578-TWR-AGS
                       DISTRICT, a public corporation; and
              19       CITY OF SAN DIEGO, a municipal
                       corporation,                            JOINT MOTION TO STAY
              20                                               LITIGATION PENDING
                                                               SETTLEMENT DISCUSSIONS
              21                     Plaintiffs,
              22            v.                                 NO ORAL ARGUMENT UNLESS
                                                               ORDERED BY THE COURT
              23       MONSANTO COMPANY, SOLUTIA
                       INC., and PHARMACIA                     Judge: Hon. Todd W. Robinson
              24       CORPORATION,
                                                               File Date: March 13, 2015
              25                     Defendants.
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                                                                        CASE NUMBER: 3:15-cv-00578-TWR-AGS
ATTORNEYS AT LAW
   SAN DIEGO
                                                                        JOINT MOTION TO STAY LITIGATION
                                                                        PENDING SETTLEMENT DISCUSSIONS
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                   1         Pursuant to Local Rule 7.2, Plaintiff San Diego Unified Port District (“Port
                   2 District”) and Defendants Monsanto Company, Solutia Inc., and Pharmacia LLC
                   3 (“Defendants”) (collectively, the “Parties”) respectfully submit this Joint Motion to
                   4 Stay Litigation Pending Settlement Discussions (“Joint Motion”).
                   5         In support of this Joint Motion, the Parties state:
                   6         1.    A proposed class action settlement is currently pending in the case of
                   7 City of Long Beach v. Monsanto, Case No. 2:16-cv-03493-FMO-AS (C.D. Cal.)
                   8 (“Proposed Settlement”). The Port District is a class member subject to the
                   9 Proposed Settlement. Defendants are also parties to the Proposed Settlement,
              10 which proposes $550 million to be allocated among class members in exchange for
              11 a release of claims that would cover the claims asserted by the Port District in this
              12 case. If approved by the Court, the Proposed Settlement would resolve the claims
              13 asserted in this case.
              14             2.    On June 24, 2020, in the United States District Court for the Central
              15 District of California, the proposed class members filed a joint motion for
              16 preliminary approval of a proposed nationwide settlement class. Id. at ECF No.
              17 191-1.
              18             3.    On April 23, 2021, the Central District directed the parties to file a
              19 complete settlement agreement, including all exhibits (“Settlement Agreement”).
              20 Id. at ECF No. 270. The parties filed the Settlement Agreement on April 26, 2021.
              21 Id. at ECF No. 271.
              22             4.    On March 14, 2022, the Central District preliminarily approved the
              23 class settlement. Id. at ECF No. 293.
              24             5.    On April 4, 2022, the Parties filed a Notice of Lodging of Proposed
              25 Schedule for Final Approval of Settlement and [Proposed] Scheduling Order for
              26 Purposes of Final Approval of Settlement. Id. at ECF No. 294. On May 9, 2022,
              27 the Central District entered a Scheduling Order establishing deadlines through final
              28 approval of the settlement, including a deadline for class members such as the Port

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ATTORNEYS AT LAW
   SAN DIEGO                                                      1          JOINT MOTION TO STAY LITIGATION
                                                                             PENDING SETTLEMENT DISCUSSIONS
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                   1 District to opt out by July 25, 2022 and the final approval hearing scheduled for
                   2 October 13, 2022. Id. at ECF No. 296.
                   3         6.    The Port District did not opt out of the Settlement Agreement. If the
                   4 Central District approves the Settlement Agreement following the final approval
                   5 hearing, the settlement will resolve the claims asserted in this case.
                   6         7.    Under the current schedule in this case (ECF No. 515), there are
                   7 upcoming litigation deadlines as soon as September 13, 2022, including (1) Pretrial
                   8 Disclosures pursuant to Rule 26(a)(3), (2) Supplemental Expert Reports pursuant
                   9 to Rule 26(e)(2) and (3) Memorandum of Fact and Law.
              10             8.    To accommodate the settlement approval process, the Parties agree
              11 that continued pre-trial litigation activity is not the best use of the Parties’ or the
              12 Court’s resources, and it will not facilitate resolution of this case.
              13             9.    For these reasons, the Parties respectfully request that the Court stay
              14 this case including all pre-trial deadlines previous scheduled in the Order Granting
              15 Joint Motion to Continue Pretrial Conference and Set Scheduling Order (ECF No.
              16 515).
              17             10.   On or before January 10, 2023, the Parties will submit a joint status
              18 report apprising the Court as to the status of the settlement and, if the settlement
              19 has been completed, will file a stipulation of dismissal with prejudice pursuant to
              20 the schedule agreed to in the settlement agreement.
              21 IT IS SO STIPULATED.
              22 Dated: September 9, 2022                     LATHAM & WATKINS LLP
              23                                              By: /s/ Robert M. Howard
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ATTORNEYS AT LAW
   SAN DIEGO                                                     2         JOINT MOTION TO STAY LITIGATION
                                                                           PENDING SETTLEMENT DISCUSSIONS
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              28                                   Company, Solutia Inc., and Pharmacia
                                                   LLC
                                                            CASE NUMBER: 3:15-cv-00578-TWR-AGS
ATTORNEYS AT LAW
   SAN DIEGO                                       3        JOINT MOTION TO STAY LITIGATION
                                                            PENDING SETTLEMENT DISCUSSIONS
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                                                Attorneys for Plaintiff San Diego Unified
              18                                Port District
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ATTORNEYS AT LAW
   SAN DIEGO                                       4         JOINT MOTION TO STAY LITIGATION
                                                             PENDING SETTLEMENT DISCUSSIONS
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                   1                              ECF CERTIFICATION
                   2        I, Robert M. Howard, hereby certify that the content of this Joint Motion to
                   3 Stay Litigation Pending Settlement Discussions is acceptable to all parties who are
                   4 required to sign this Joint Motion. Counsel for the San Diego Unified Port District
                   5 authorized me to affix their CM/ECF electronic signature to this Joint Proposal.
                   6
                   7 Dated: September 9, 2022               LATHAM & WATKINS LLP
                   8
                   9                                        By:        /s/Robert M. Howard
                                                                      Robert M. Howard
              10
                                                                      Attorneys for Defendants
              11                                                      Monsanto Company, Solutia Inc., and
                                                                      Pharmacia LLC
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                                                                              CASE NUMBER: 3:15-cv-00578-TWR-AGS
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